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                       8
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                       9

                      10                          IN THE UNITED STATES DISTRICT COURT
                      11                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                      12

                      13    IN RE: SOCIAL MEDIA ADOLESCENT                 Case No. 4:22-MD-3047
                            ADDICTION/PERSONAL INJURY
                      14    PRODUCTS LIABILITY LITIGATION                  MDL No. 3047
                      15                                                   TIKTOK DEFENDANTS’ ANSWER TO
                                                                           PLAINTIFFS’ SECOND AMENDED
                      16    THIS DOCUMENT RELATES TO:                      MASTER COMPLAINT (PERSONAL
                                                                           INJURY)
                      17    ALL ACTIONS
                                                                           JURY TRIAL DEMANDED
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KING & SPALDING LLP
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    SAN FRANCISCO
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                       1            Defendants TikTok Inc., ByteDance Inc., ByteDance Ltd., TikTok Ltd., and TikTok LLC
                       2    (collectively, “the TikTok Defendants”) hereby respond to Plaintiffs’ Second Amended Master
                       3    Complaint (Personal Injury) (“Master Complaint”), and pursuant to Federal Rule of Civil Procedure
                       4    12, deny each and every allegation, both generally and specifically in the Master Complaint, and
                       5    further deny that Plaintiffs have been injured, harmed, or damaged in any sum or sums whatsoever
                       6    as the result of any conduct attributable to the TikTok Defendants. In further response to the Master
                       7    Complaint, subject to discovery, based on information and belief, and without assuming the burden
                       8    of proof on any issue for which Plaintiffs bear the burden of proof, the TikTok Defendants assert
                       9    the following additional and/or affirmative defenses.
                      10                                              FIRST DEFENSE
                      11                                               Lack of Standing
                      12            Plaintiffs’ claims are barred in whole or in part because Plaintiffs lack standing to assert some
                      13    or all of the causes of action alleged and to obtain some or all of the relief requested.
                      14                                            SECOND DEFENSE
                      15                                              Lack of Causation
                      16            The TikTok Defendants deny all types of causation, including cause in fact, proximate cause,
                      17    and producing cause, with respect to the claims asserted against the TikTok Defendants.
                      18                                             THIRD DEFENSE
                      19                                              Third Party Fault
                      20            A percentage of each Plaintiff’s alleged injury or loss, if proven, is attributable to (i) other
                      21    parties from whom Plaintiffs seek recovery in this action, and (ii) persons from whom Plaintiffs do
                      22    not seek recovery in this action. Plaintiffs’ claims are barred and/or Plaintiffs’ damages must be
                      23    reduced, in whole or in part, because of the contributory and/or comparative fault of third parties who
                      24    caused or contributed to Plaintiffs’ alleged injuries. The TikTok Defendants are not liable for any
                      25    alleged harm Plaintiffs sustained as a result of Plaintiffs’ use of another Defendant’s services; or any
                      26    non-party’s website, app, online service, or other good, product, service or intangible.
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                       1                                            FOURTH DEFENSE
                       2                                    Contributory or Comparative Fault
                       3            A percentage of each Plaintiff’s alleged injury or loss, if proven, is attributable to the conduct
                       4    of Plaintiff(s) and/or others acting on Plaintiffs’ behalf, including the legal guardian or guardians of
                       5    Plaintiffs. Plaintiffs’ claims are barred and/or Plaintiffs’ damages must be reduced, in whole or in
                       6    part, because Plaintiffs’ alleged damages were caused by the contributory or comparative fault of
                       7    Plaintiffs and/or others acting on Plaintiffs’ behalf, because Plaintiffs knowingly encountered the
                       8    alleged risks of TikTok’s services, and because the principle of secondary assumption of risk applies
                       9    to Plaintiffs’ claims.
                      10                                              FIFTH DEFENSE
                      11                             Independent, Intervening, or Superseding Causation
                      12            Plaintiffs’ alleged injuries, in whole or in part, resulted from independent, intervening, and/or
                      13    superseding causes for which the TikTok Defendants are not legally responsible and which were not
                      14    foreseeable.
                      15                                              SIXTH DEFENSE
                      16                                             Assumption of Risk
                      17            The TikTok Defendants owe no duty of care towards Plaintiffs in regard to any alleged
                      18    inherent risks of TikTok’s services, and any recovery against the TikTok Defendants is barred or
                      19    limited under the principle of primary assumption of risk, both express and implied.
                      20                                           SEVENTH DEFENSE
                      21                                                    Misuse
                      22            Plaintiffs’ alleged injuries and damages, if any, were caused or contributed to, directly and
                      23    proximately, in whole or in part, by misuse, unauthorized use, unintended use, unforeseeable use,
                      24    and/or improper use of the service(s) at issue in this matter.
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                       1                                            EIGHTH DEFENSE
                       2                                               Unclean Hands
                       3            Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of unclean hands,
                       4    including to the extent Plaintiffs’ claims are brought despite violating TikTok’s Community
                       5    Guidelines, integrated Terms of Service, and/or Terms of Use.
                       6                                             NINTH DEFENSE
                       7                                  Fraud, Illegality, or Improper Conduct
                       8            Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs procured TikTok’s services
                       9    through conduct that was fraudulent, illegal, or otherwise improper. TikTok’s services were and
                      10    continue to be age restricted. Plaintiffs who began using TikTok’s service below the permitted age
                      11    unlawfully obtained TikTok’s services while underage and through the use of deception, fraud, or
                      12    other improper conduct. Plaintiffs’ claims are further barred in whole or in part by the illegality of
                      13    Plaintiffs’ own actions and/or any fraudulent and/or improper conduct by Plaintiffs.
                      14                                             TENTH DEFENSE
                      15                        Conduct Not Willful; Conforming to Industry Standards
                      16            To the extent the TikTok Defendants engaged in any wrongful conduct, such conduct was not
                      17    willful. Plaintiffs’ claims are barred, in whole or in part, to the extent that the challenged conduct of
                      18    the TikTok Defendants was undertaken for a valid business purpose, and/or was consistent with
                      19    industry norms and practices.
                      20                                          ELEVENTH DEFENSE
                      21                                                 Preemption
                      22            Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ claims are expressly or
                      23    impliedly preempted, in whole or in part, by federal or state law.
                      24                                           TWELFTH DEFENSE
                      25                                              Protected Speech
                      26            Plaintiffs’ claims are barred, in whole or in part, to the extent they seek to prevent the TikTok
                      27    Defendants from engaging in protected activity under the First Amendment to the United States
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                       1    Constitution and similar provisions of state constitutions, including under the Free Speech Clause to
                       2    the California Constitution (Cal. Const. art. 1, § 2). Moreover, the representations or statements
                       3    alleged to have been made were true and accurate at the time made and/or otherwise were made in
                       4    good faith, with a reasonable belief as to their validity and accuracy and with a reasonable belief that
                       5    all conduct was lawful.
                       6                                         THIRTEENTH DEFENSE
                       7                                        Communications Decency Act
                       8            Plaintiffs’ claims are barred in whole or in part by the Communications Decency Act.
                       9                                         FOURTEENTH DEFENSE
                      10                                          Adequate Remedy at Law
                      11            Plaintiffs’ equitable claims are barred, in whole or in part, because Plaintiffs have an adequate
                      12    remedy at law, because Plaintiffs have no factual or legal basis for the grant of equitable relief, and
                      13    because Plaintiffs’ alleged equitable relief would duplicate legal remedies that are alleged.
                      14                                          FIFTEENTH DEFENSE
                      15                                        Failure to Mitigate Damages
                      16            Plaintiffs are barred from recovery of damages in whole or in part because of and to the extent
                      17    of Plaintiffs’ failure to avoid or mitigate any such damages, including Plaintiffs’ failure to cease using
                      18    TikTok’s services, including after filing this lawsuit; failure to seek medical or other assistance in an
                      19    effort to cease using TikTok’s services; or failure to otherwise seek medical or other assistance in an
                      20    effort to address their alleged injuries or harms.
                      21                                          SIXTEENTH DEFENSE
                      22                                             Duplicative Recovery
                      23            Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs seek damages that
                      24    constitute duplicative recovery for the same conduct.
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                       1                                         SEVENTEENTH DEFENSE
                       2                                     Cap on Recovery; Collateral Source
                       3              Plaintiffs’ claims are barred, reduced, and/or limited pursuant to any applicable statutory and
                       4    common law regarding limitations of awards, caps on recovery, and setoffs. The TikTok Defendants
                       5    are entitled to have any damages that may be awarded to Plaintiffs reduced by the value of any benefit
                       6    or payment received, available, or to be received by Plaintiffs from any collateral source, as permitted
                       7    by law.
                       8                                          EIGHTEENTH DEFENSE
                       9                                      Statutes of Limitations and Repose
                      10              Plaintiffs’ claims are barred by the applicable statutes of limitations and repose because
                      11    Plaintiffs bring claims and allege injuries based upon alleged conduct that occurred outside the
                      12    limitations and repose periods.
                      13                                          NINETEENTH DEFENSE
                      14                                                     Laches
                      15              Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of laches to the
                      16    extent Plaintiffs unreasonably delayed before pursuing their purported claims.
                      17                                           TWENTIETH DEFENSE
                      18                                             No Punitive Damages
                      19              Punitive damages are not recoverable by Plaintiffs because Plaintiffs have failed to allege or
                      20    establish any conduct that would support an award of punitive damages. Plaintiffs’ claims for punitive
                      21    or exemplary damages or other civil penalties are barred or reduced by applicable law or statute or,
                      22    in the alternative, are unconstitutional insofar as they violate the due process protections afforded by
                      23    the United States Constitution, the excessive fines clause of the Eighth Amendment of the United
                      24    States Constitution, the Full Faith and Credit Clause of the United States Constitution, and applicable
                      25    provisions of the Constitution of this State or that of any other state whose laws may apply.
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                       1                                         TWENTY-FIRST DEFENSE
                       2                                            Failure to State a Claim
                       3              The Master Complaint and each claim contained therein fail to state a claim upon which relief
                       4    can be granted, fails to state facts sufficient to constitute a cause of action, and fail to plead cognizable
                       5    injury.
                       6                                       TWENTY-SECOND DEFENSE
                       7                                            Pre-Existing Conditions
                       8              Plaintiffs’ damages, if any, were the direct result of pre-existing medical conditions, and/or
                       9    occurred by operation of nature or as a result of circumstances over which the TikTok Defendants
                      10    had and continue to have no control.
                      11                                        TWENTY-THIRD DEFENSE
                      12                                               No Duty or Breach
                      13              Plaintiffs’ claims fail as a matter of law because the TikTok Defendants neither owed nor
                      14    breached any duty to Plaintiffs.
                      15                                       TWENTY-FOURTH DEFENSE
                      16                                                   No Injuries
                      17              Plaintiffs’ claims are barred in whole or in part because Plaintiffs suffered no injuries or
                      18    damages as a result of any action or omission by the TikTok Defendants.
                      19                                         TWENTY-FIFTH DEFENSE
                      20                                            Damages are Speculative
                      21              Plaintiffs’ claims are barred to the extent that Plaintiffs’ alleged damages are speculative,
                      22    uncertain, and/or hypothetical.
                      23                                         TWENTY-SIXTH DEFENSE
                      24                                          Attorneys’ Fees Unavailable
                      25              Plaintiffs’ request for attorneys’ fees in this action is barred because it lacks any basis in
                      26    law.
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                       1                                     TWENTY-SEVENTH DEFENSE
                       2                                    Failure to Join Indispensable Parties
                       3            Plaintiffs have failed to join necessary or indispensable parties.
                       4                                      TWENTY-EIGHTH DEFENSE
                       5                                                Improper Joinder
                       6            The claims asserted against the TikTok Defendants and other Defendants do not arise out of
                       7    the same transactions or occurrences as required for joinder of parties.
                       8                                       TWENTY-NINTH DEFENSE
                       9                                    Plaintiffs Were On Notice / Consent
                      10            Plaintiffs cannot obtain relief on their claims based on actions undertaken by the TikTok
                      11    Defendants of which the TikTok Defendants provided notice of all reasonable facts. Further,
                      12    Plaintiffs have consented to and/or ratified the conduct alleged in the Master Complaint.
                      13                                           THIRTIETH DEFENSE
                      14                                                     Ripeness
                      15            Plaintiff’s claims are not ripe.
                      16                                         THIRTY-FIRST DEFENSE
                      17                                                     Mootness
                      18            Plaintiffs’ claims are barred to the extent they are moot, including because Plaintiffs have
                      19    made numerous allegations about historical practices or other practices that have ceased and that
                      20    cannot support a request for injunctive or other relief.
                      21                                       THIRTY-SECOND DEFENSE
                      22                                               Real Party in Interest
                      23            Plaintiffs’ claims are barred because Plaintiffs are not the real party in interest.
                      24                                        THIRTY-THIRD DEFENSE
                      25                                                     Estoppel
                      26            Plaintiffs’ claims are barred in whole or in part by the doctrine of estoppel based on the
                      27    actions of Plaintiffs and/or their representatives.
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                       1                                      THIRTY-FOURTH DEFENSE
                       2                                                   Contract
                       3            Plaintiffs’ claims are barred in whole or in part by contracts and/or agreements, including the
                       4    integrated Terms of Service, they entered into with the TikTok Defendants or third parties.
                       5                                        THIRTY-FIFTH DEFENSE
                       6                                             Economic Loss Rule
                       7            Plaintiffs’ claims are barred, in whole or in part, by the economic loss rule.
                       8                                        THIRTY-SIXTH DEFENSE
                       9                                            Set-off / Recoupment
                      10            The TikTok Defendants are not liable for the full amount of the claims to the extent they are
                      11    entitled to set-off or recoup the amounts that any Plaintiff is delinquent in paying or owes to the TikTok
                      12    Defendants.
                      13                                      THIRTY-SEVENTH DEFENSE
                      14                                       Claim and/or Issue Preclusion
                      15            Plaintiffs’ claims are barred, in whole or in part, by the doctrines of claim and/or issue
                      16    preclusion to the extent that Plaintiffs have brought other lawsuits against the TikTok Defendants that
                      17    reach judgment before this action reaches judgment.
                      18                                       THIRTY-EIGHTH DEFENSE
                      19                         Proportionate Fault of Agents, Employees, Contractors
                      20            To the extent any agents, employees, or contractors of the TikTok Defendants caused any of
                      21    the damages alleged by the Plaintiffs, such agents, employees, or contractors were acting outside the
                      22    scope of agency, employment, or contract with the TikTok Defendants, and any recovery against the
                      23    TikTok Defendants must be reduced by the proportionate fault of such agents, employees, or
                      24    contractors.
                      25                                        THIRTY-NINTH DEFENSE
                      26                                     Lack of Capacity to Assert Claims
                      27            Plaintiffs have no capacity, authority or right to assert some or all of their claims.
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                       1                                          FORTIETH DEFENSE
                       2                                Third Party Fault—Use of Other Services
                       3           The TikTok Defendants are not liable for any alleged harm by Plaintiffs that users of TikTok's
                       4    services sustained because of use of (i) another Defendant’s services; or (ii) any nonparty’s website,
                       5    app, online service, or other good, product, service or intangible.
                       6                                        FORTY-FIRST DEFENSE
                       7                                        Sufficient Corrective Action
                       8           Plaintiffs’ claims are barred, in whole or in part, because the TikTok Defendants' allegedly
                       9    offending conduct or practice has ceased and the TikTok Defendants have cured or taken sufficient
                      10    corrective action in regard to the alleged defects of which Plaintiffs complain.
                      11                                       FORTY-SECOND DEFENSE
                      12                                          Discharged Obligations
                      13           The TikTok Defendants appropriately, completely, and fully discharged any and all
                      14    obligations arising out of the matters alleged in the Master Complaint.
                      15                                        FORTY-THIRD DEFENSE
                      16                                                 Justification
                      17           Plaintiffs’ claims are barred, in whole or in part, because to the extent the TikTok Defendants
                      18    engaged in any of the alleged acts, omissions, or conduct, it did so with justification.
                      19                                      FORTY-FOURTH DEFENSE
                      20                                       Ordinary Course of Business
                      21           Plaintiffs’ claims are barred, in whole or in part, because at all relevant times, the TikTok
                      22    Defendants' actions were within the ordinary course of business.
                      23                                        FORTY-FIFTH DEFENSE
                      24                           Defenses Against Claims Made on Behalf of Others
                      25           Plaintiffs’ claims are subject to all defenses that could be asserted if Plaintiffs’ claims were
                      26    properly made by individuals on whose behalf or for whose alleged injuries or harm Plaintiffs seek
                      27    to recover.
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                       1                                         FORTY-SIXTH DEFENSE
                       2                                       Unjust Enrichment, Generally
                       3            Plaintiffs’ claims for relief are barred because they would be unjustly enriched if they
                       4    recovered any monetary relief.
                       5                                       FORTY-SEVENTH DEFENSE
                       6                                             Opportunity to Cure
                       7            Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs failed to provide
                       8    the TikTok Defendants with notice of and a reasonable opportunity to cure the alleged defects.
                       9                                        FORTY-EIGHTH DEFENSE
                      10                                             Personal Jurisdiction
                      11            With respect to every action originally brought in a court located outside California,
                      12    Defendants aver that this Court lacks personal jurisdiction over them.
                      13                                         FORTY-NINTH DEFENSE
                      14                                             Petitioning Congress
                      15            Plaintiffs’ claims fail, in whole or in part, to the extent that they are based on petitioning
                      16    statements made to Congress.
                      17                                            FIFTIETH DEFENSE
                      18                                             Authorized Conduct
                      19            At all times material herein, the TikTok Defendants’ actions were specifically authorized
                      20    under the laws administered by, or rules and regulations promulgated by, regulatory bodies or officers
                      21    acting under the authority of the Plaintiff States or the United States.
                      22                                          FIFTY-FIRST DEFENSE
                      23                      Content and Parties Outside of TikTok Defendants’ Control
                      24            Recovery for Plaintiffs’ alleged harm should be barred or reduced to the extent such harm
                      25    was caused by (A) content created by persons and/or entities not within the TikTok Defendants’
                      26    control and/or (B) changes and/or alterations to the TikTok Defendants’ products made by persons
                      27    and/or entities not within TikTok Defendants’ control.
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                       1                                       FIFTY-SECOND DEFENSE
                       2                                          Contemplated Conduct
                       3           Plaintiffs’ claims are barred in whole or in part because the conduct alleged in the Master
                       4    Complaint was contemplated by contracts and/or agreements that users of TikTok Defendants’
                       5    services entered into with Defendants or third parties.
                       6                                        FIFTY-THIRD DEFENSE
                       7                                         Conformance with Laws
                       8           The claims asserted in the Master Complaint are barred, in whole or in part, because the
                       9    activities of the TikTok Defendants’ alleged in the Master Complaint conformed with all state and
                      10    federal statutes, regulations, and industry standards based on the state of knowledge at the relevant
                      11    times alleged in the Master Complaint.
                      12                                       FIFTY-FOURTH DEFENSE
                      13                                              State of the Art
                      14           Plaintiffs may not recover from the TikTok Defendants because the methods, standards, or
                      15    techniques of designing and making available the services at issue complied with and were in
                      16    conformity with the generally recognized state of the art at the time the services were designed and
                      17    made available to users.
                      18                                        FIFTY-FIFTH DEFENSE
                      19                                  Acquiescence, Settlement, and Release
                      20           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of acquiescence, settlement,
                      21    and release.
                      22                                        FIFTY-SIXTH DEFENSE
                      23                                       Dormant Commerce Clause
                      24           Plaintiffs’ claims are barred in whole or in part by the Dormant Commerce Clause of the
                      25    United States Constitution.
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                       1                                       FIFTY-SEVENTH DEFENSE
                       2                                              Due Process Clause
                       3            Plaintiffs’ claims are barred in whole or in part by the Due Process Clauses of the United
                       4    States and Plaintiff States’ Constitutions, including to the extent Plaintiffs seek punitive damages.
                       5                                        FIFTY-EIGHTH DEFENSE
                       6                                             Separation of Powers
                       7            Plaintiffs’ claims are barred or limited by the separation of powers doctrine to the extent that
                       8    they raise political or policy issues, not legal or constitutional ones.
                       9                                          FIFTY-NINTH DEFENSE
                      10                                                  No Reliance
                      11            Plaintiffs’ claims may be barred, in whole or in part, because users did not rely (reasonably
                      12    or otherwise) upon any purported statement by Defendants in determining to use Defendants’
                      13    services.
                      14                                            SIXTIETH DEFENSE
                      15                                           No Retroactive Reliance
                      16            To the extent that Plaintiffs seek relief for the TikTok Defendants’ conduct occurring before
                      17    enactment of applicable statutes or regulations, the claims fail because the statutes and regulations do
                      18    not apply retroactively.
                      19                                          SIXTY-FIRST DEFENSE
                      20                                              Preclusion by Law
                      21            Plaintiffs are precluded from recovering civil penalties and/or statutory damages under
                      22    applicable provisions of law.
                      23                                        SIXTY-SECOND DEFENSE
                      24                                     Consumer Protection of Publishers
                      25            Plaintiffs’ claims are premised on the provisions and limitations of Plaintiffs’ states’ laws.
                      26    The TikTok Defendants are entitled to, and claims the benefit of, all defenses and presumptions set
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                       1    forth in or arising from any rule of law or statute of the Plaintiffs’ states or any other state whose
                       2    substantive law might control the action or claims.
                       3                                         SIXTY-THIRD DEFENSE
                       4                                       Insufficient Pleading of Fraud
                       5           The Master Complaint, and each and every fraud-based claim therein, fails to plead fraud with
                       6    the particularity required by Rule 9(b) of the Federal Rules of Civil Procedure.
                       7                                        SIXTY-FOURTH DEFENSE
                       8                                         Incorporate by Reference
                       9           The TikTok Defendants further incorporate by reference as if set forth herein any defense
                      10    asserted by another Defendant in these matters.
                      11                                         SIXTY-FIFTH DEFENSE
                      12                                             Defenses Reserved
                      13           The TikTok Defendants hereby give notice that they reserve the right to rely upon any other
                      14    applicable defenses set forth in any Answer of any other Defendant in this Action, reserve the right to
                      15    rely upon any other defenses that may become apparent as discovery progresses in this matter, and
                      16    reserve their right to amend their Answer and to assert any such defenses. The TikTok Defendants
                      17    also reserve the right to amend their Answer and to assert any such defenses should Plaintiffs at any
                      18    time hereafter purport to raise, rely on, or otherwise seek to proceed on any claim or theory stated in
                      19    their Master Complaint that has been dismissed.
                      20                                          PRAYER FOR RELIEF
                      21           The TikTok Defendants pray for the following relief:
                      22           1.      That Plaintiffs take nothing by reason of their Master Complaint;
                      23           2.      That judgment be rendered in favor of the TikTok Defendants;
                      24           3.      That the TikTok Defendants be awarded costs and expenses incurred in defense of
                      25                   this action; and
                      26           4.      For all such other relief as the Court deems just and proper.
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   ATTORNEYS AT LAW                     ANSWER TO PLAINTIFFS’ SECOND AMENDED MASTER COMPLAINT (PERSONAL INJURY)
    SAN FRANCISCO
                                                                                       CASE NO. 4:22-MD-0347 (YGR)
                           Case 4:22-md-03047-YGR        Document 1802        Filed 03/28/25      Page 15 of 15



                       1                                    JURY TRIAL DEMANDED
                       2          The TikTok Defendants hereby demand a trial by jury on all claims triable by jury.
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                       4    Dated: March 28, 2025                           Respectfully submitted,
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